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 7 United States of America
 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-216-MCE

12                                Plaintiff,            STIPUALATED REQUEST TO REFER
                                                        DEFENDANT TUNG FOR PREPARATION OF A
13                         v.                           PRESENTENCE INVESTIGATION REPORT;
                                                        STIPULATION TO SET DISCLOSURE OF PSR
14   TIFFANY TUNG,
                                                        DATE: May 7, 2015
15                               Defendant.             TIME: 9:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
16
17          The defendant previously pled guilty to a superseding information. ECF 115. The government
18 and defendant had requested that the PSR schedule be suspended awaiting the co-defendant’s trial. ECF
19 138. The co-defendant’s trial completed in December 2014. ECF 156.
20          Accordingly, the parties stipulate and request that defendant Tiffany Tung be referred to the
21 probation office for preparation of a pre-sentence investigation report, and that Judgment and Sentencing
22 be set for May 7, 2015, with the schedule of disclosure of the PSR as follows:
23          Draft PSR available: March 26, 2015
24          Informal objections: April 9, 2015
25          Final PSR available: April 16, 2015
26          Formal objections and motion to correct the PSR: April 23, 2015
27          Reply or statement of non-opposition: April 30, 2015
28          Sentencing: May 7, 2015


      STIPULATED REQUEST TO SET SENTENCING SCHEDULE     1
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 1         SO STIPULATED.

 2
 3 Dated: February 10, 2015                                  BENJAMIN B. WAGNER
                                                             United States Attorney
 4
                                                      By: /s/ MATTHEW G. MORRIS
 5                                                        MATTHEW G. MORRIS
                                                          BRIAN A. FOGERTY
 6                                                        Assistant United States Attorneys
 7
 8 Dated: February 10, 2015                                  /s/ ROBERT BYERS (auth by
                                                             phone with Law Office of Robert
 9                                                           Byers)
                                                             ROBERT BYERS
10                                                           Attorney for Tiffany Tung
11
12
           IT IS SO ORDERED.
13
     Dated: February 12, 2015
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      STIPULATED REQUEST TO SET SENTENCING SCHEDULE      2
